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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA

CLINTON PARKS, Individually,             :
                                         :
            Plaintiff,                   :
                                         :
v.                                       :             Case No.
                                         :
BRE/SANIBEL INN OWNER L.L.C.,            :
                                         :
            Defendant.                   :
_______________________________________/ :
                                         :
                                         :
                                         :

                                         COMPLAINT
                                  (Injunctive Relief Demanded)

       Plaintiff, CLINTON PARKS, Individually, on his behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

BRE/SANIBEL INN OWNER L.L.C., (sometimes referred to as “Defendant”), for Injunctive

Relief, and attorney’s fees, litigation expenses, and costs pursuant to the Americans with

Disabilities Act, 42 U.S.C. ' 12181 et seq. (“ADA”).

1.             Plaintiff is a resident of Pasco County, is sui juris, and qualifies as an individual

               with disabilities as defined by the ADA. Plaintiff suffers from Chronic Obstructive

               Pulmonary Disease and is unable to engage in the major life activity of walking to

               long distances without losing breath. As a result, Plaintiff often ambulates with a

               wheelchair. Plaintiff requires accessible handicap parking spaces located closest to

               the entrances of a facility. The handicap and access aisles must be of sufficient

               width so that he can embark and disembark from a vehicle. Routes connecting the

               handicap spaces and all features, goods and services of a facility must be level,
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          properly sloped, sufficiently wide and without cracks, holes or other hazards that

          can pose a danger of tipping, catching wheels or falling. These areas must be free

          of obstructions or unsecured carpeting that make passage either more difficult or

          impossible. Amenities must be sufficiently lowered so that Plaintiff can reach them.

          When in a wheelchair, he requires that sinks have unwrapped pipes, as such pose a

          danger of scraping or burning his legs. Sinks must be at the proper height so that he

          can put his legs underneath to wash his hands. He requires grab bars both behind

          and beside a commode so that he can more easily transfer and he has difficulty

          reaching the flush control if it is on the wrong side. He has difficulty getting through

          doorways if they lack the proper clearance.

2.        Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

          "tester" for the purpose of asserting his civil rights and monitoring, ensuring, and

          determining whether places of public accommodation and their websites are in

          compliance with the ADA.

3.        According to the county property records, Defendant owns a place of public

          accommodation as defined by the ADA and the regulations implementing the ADA,

          28 CFR 36.201(a) and 36.104. The place of public accommodation that the

          Defendant owns is a place of lodging known as Sanibel Inn, and is located at 937

          E Gulf Drive, Sanibel, in the County of Lee, Florida (hereinafter "Property").

4.        Venue is properly located in the Middle District because the injury occurred in this

          district.




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5.        Pursuant to 28 U.S.C. ' 1331 and 28 U.S.C. ' 1343, this Court has been given

          original jurisdiction over actions which arise from the Defendant’s violations of

          Title III of the Americans with Disabilities Act, 42 U.S.C. ' 12181 et seq. See also

          28 U.S.C. ' 2201 and ' 2202.

6.        As the owner of the subject place of lodging, Defendant is required to comply with

          the ADA. As such, Defendant is required to ensure that its place of lodging is in

          compliance with the standards applicable to places of public accommodation, as set

          forth in the regulations promulgated by the Department Of Justice. Said regulations

          are set forth in the Code Of Federal Regulations, the Americans With Disabilities

          Act Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards,

          incorporated by reference into the ADA. These regulations impose requirements

          pertaining to places of public accommodation, including places of lodging, to

          ensure that they are accessible to disabled individuals.

7.        More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

          requirement:

          Reservations made by places of lodging. A public accommodation that owns, leases
          (or leases to), or operates a place of lodging shall, with respect to reservations
          made by any means, including by telephone, in-person, or through a third party -
                  (i) Modify its policies, practices, or procedures to ensure that individuals
                  with disabilities can make reservations for accessible guest rooms during
                  the same hours and in the same manner as individuals who do not need
                  accessible rooms;
                  (ii) Identify and describe accessible features in the hotels and guest rooms
                  offered through its reservations service in enough detail to reasonably
                  permit individuals with disabilities to assess independently whether a
                  given hotel or guest room meets his or her accessibility needs;




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                 (iii) Ensure that accessible guest rooms are held for use by individuals
                 with disabilities until all other guest rooms of that type have been rented
                 and the accessible room requested is the only remaining room of that type;
                 (iv) Reserve, upon request, accessible guest rooms or specific types of
                 guest rooms and ensure that the guest rooms requested are blocked and
                 removed from all reservations systems; and
                 (v) Guarantee that the specific accessible guest room reserved through its
                 reservations service is held for the reserving customer, regardless of
                 whether a specific room is held in response to reservations made by
                 others.

8.        These regulations became effective March 15, 2012.

9.        Defendant, either itself or by and through a third party, implemented, operates,

          controls and or maintains an online reservations service ("ORS") for the Property.

          This ORS is located at various websites. This term also includes all other websites

          owned and operated by Defendant or by third parties to book or reserve guest

          accommodations at the hotel: www.expedia.com, www.hotels.com,

          www.booking.com, www.orbitz.com, and www.agoda.com. The purpose of the

          ORS is so that members of the public may reserve guest accommodations and

          review information pertaining to the goods, services, features, facilities, benefits,

          advantages, and accommodations of the Property. As such, the ORS is subject to

          the requirements of 28 C.F.R. Section 36.302(e).

10.       Prior to the commencement of this lawsuit, specifically, on March 10, 2020,

          Plaintiff visited the ORSs for the purpose of reviewing and assessing the

          accessible features at the Property and ascertain whether it meets the requirements

          of 28 C.F.R. Section 36.302(e) and his accessibility needs. However, Plaintiff was

          unable to do so because Defendant failed to comply with the requirements set

          forth in 28 C.F.R. Section 36.302(e). As a result, Plaintiff was deprived the same

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          goods, services, features, facilities, benefits, advantages, and accommodations of

          the Property available to the general public. Screenshots of all the websites the

          hotel uses for booking were reviewed and are attached hereto. More specifically:

11.       The third party booking sites are as follows. www.expedia.com: did not comply

          with the Regulation because it did not identify accessible rooms, did not allow for

          booking of accessible rooms or provided insufficient information as to whether

          the rooms or features at the hotel are accessible. Hotel amenities, room types and

          amenities are all listed in detail. No information was given about accessibility in

          the hotel other than the statements “Accessible bathroom”, “Roll-in shower”,

          “Accessible parking” and “Wheelchair-accessible parking.”

12.       The third party booking site located at www.hotels.com: did not comply with the

          Regulation because it did not identify accessible rooms, did not allow for booking

          of accessible rooms and provided insufficient information as to whether the rooms

          or features at the hotel are accessible. Hotel amenities, room types and amenities

          are all listed in detail. No information was given about accessibility in the hotel

          other than the statements “Accessible bathroom”, “Roll-in shower” and

          “Wheelchair-accessible parking”

13.       The third party booking site located at www.booking.com: did not comply with

          the Regulation because it did not identify accessible rooms, did not allow for

          booking of accessible rooms and provided insufficient information as to whether

          the rooms or features at the hotel are accessible. Hotel amenities, room types and

          amenities are all listed in detail. No information was given about accessibility in


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          the hotel.

14.       The third party booking site located at www.orbitz.com: did not comply with the

          Regulation because it did not identify accessible rooms, did not allow for booking

          of accessible rooms and provided insufficient information as to whether the rooms

          or features at the hotel are accessible. Hotel amenities, room types and amenities

          are all listed in detail. No information was given about accessibility in the hotel

          other than the statements “Accessible bathroom”, “Roll-in shower”, “Accessible

          parking” and “Wheelchair-accessible parking”.

15.       The third party booking site located at www.agoda.com: did not comply with the

          Regulation because it did not identify accessible rooms, did not allow for booking

          of accessible rooms and provided insufficient information as to whether the rooms

          or features at the hotel are accessible. Hotel amenities, room types and amenities

          are all listed in detail. No information was given about accessibility in the hotel

          other than the statement “Wheelchair accessible”.

16.       In the near future, Plaintiff intends to revisit Defendant’s ORS for any one of

          several reasons; including to test it for compliance or because he has a system of

          revisits. In any event, Plaintiff intends to revisit the websites in six months or less

          and again in one year or less.

17.       Plaintiff is continuously aware that the subject ORS remains non-compliant and

          that it would be a futile gesture to revisit the ORS as long as those violations exist

          unless he is willing to suffer additional discrimination.




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18.       The violations present at Defendant’s ORS infringes Plaintiff’s right to travel free

          of discrimination and deprive him of the information required to make meaningful

          choices for travel. Plaintiff has suffered, and continues to suffer, frustration and

          humiliation as the result of the discriminatory conditions present at Defendant's

          ORS. By continuing to operate the ORS with discriminatory conditions,

          Defendant contributes to Plaintiff’s sense of isolation and segregation and

          deprives Plaintiff the full and equal enjoyment of the goods, services, facilities,

          privileges and/or accommodations available to the general public. By

          encountering the discriminatory conditions at Defendant’s website, and knowing

          that it would be a futile gesture to return to the ORS unless he is willing to endure

          additional discrimination, Plaintiff is deprived of the same advantages, privileges,

          goods, services and benefits readily available to the general public. By

          maintaining an ORS with violations, Defendant deprives Plaintiff the equality of

          opportunity offered to the general public. Defendant’s online reservations system

          serves as a gateway to its hotel. Because this online reservations system

          discriminates against Plaintiff, it is thereby more difficult to book a room at the

          hotel, to travel beyond his own home, or make an informed decision as to whether

          the facilities at the hotel are accessible.

19.       Plaintiff has suffered and will continue to suffer direct and indirect injury as a

          result of the Defendant’s discrimination until the Defendant is compelled to

          modify its ORS to comply with the requirements of the ADA and to continually

          monitor and ensure that the subject ORS remains in compliance.


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20.       Plaintiff has a realistic, credible, existing and continuing threat of discrimination

          from the Defendant’s non-compliance with the ADA with respect to the ORS.

          Plaintiff has reasonable grounds to believe that he will continue to be subjected to

          discrimination in violation of the ADA by the Defendant.

21.       The Defendant has discriminated against the Plaintiff by denying him access to,

          and full and equal enjoyment of, the goods, services, facilities, privileges,

          advantages and/or accommodations of the subject website.

22.       The Plaintiff and all others similarly situated will continue to suffer such

          discrimination, injury and damage without the immediate relief provided by the

          ADA as requested herein.

23.       Defendant has discriminated against the Plaintiff by denying him access to full

          and equal enjoyment of the goods, services, facilities, privileges, advantages

          and/or accommodations of its place of public accommodation or commercial

          facility in violation of 42 U.S.C. ' 12181 et seq. and 28 CFR 36.302(e).

          Furthermore, the Defendant continues to discriminate against the Plaintiff, and all

          those similarly situated by failing to make reasonable modifications in policies,

          practices or procedures, when such modifications are necessary to afford all

          offered goods, services, facilities, privileges, advantages or accommodations to

          individuals with disabilities; and by failing to take such efforts that may be

          necessary to ensure that no individual with a disability is excluded, denied

          services, segregated or otherwise treated differently than other individuals

          because of the absence of auxiliary aids and services.


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24.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

             Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

             fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. '

             12205 and 28 CFR 36.505.

25.          Pursuant to 42 U.S.C. ' 12188, this Court is provided with authority to grant

             Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

             subject ORS to make it readily accessible and useable to the Plaintiff and all other

             persons with disabilities as defined by the ADA and 28 C.F.R. Section 36.302(e);

             or by closing the ORS until such time as the Defendant cures its violations of the

             ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. ' 12181 et seq. and 28 C.F.R. Section 36.302(e).

      b.     Injunctive relief against the Defendant including an order to revise its ORS to

             comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

             maintain the ORS to ensure that it remains in compliance with said requirement.

      c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

             ' 12205.

      d.     Such other relief as the Court deems just and proper, and/or is allowable under

             Title III of the Americans with Disabilities Act.




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           Respectfully Submitted,

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